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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


Adrian Rosalio Reyes Ovalle; Juan Mario       :
Reyes Ovalle; Miguel Angel Reyes Ovalle;      :
Luis Miguel Roque Ovalle; Benjamin Ruiz       :
Vazquez; and Patrick Ulupano                  :
                                              :
               vs.                            :      CIVIL ACTION NO. 21-3591
                                              :
Harris Blacktopping, Inc. d/b/a Harris        :
Paving                                        :


        STIPULATION FOR DISMISSAL PURSUANT TO LOCAL RULE 41.1(B)

       It is hereby STIPULATED and AGREED by and between all represented parties in the

above-captioned matter that the issues in the above-captioned matter have been settled, and that

this matter shall be DISMISSED WITH PREJUDICE pursuant to Local Rule 41.1(b), without

costs or fees against any party. Pursuant to Local Rule 41.1(b), this Order may be vacated,

modified, or stricken from the record, for good cause shown, upon the application of any party

served within ninety (90) days of the entry of this Order.

   JUSTICE AT WORK                                   MARSHALL DENNEHEY WARNER
                                                      COLEMAN & GOGGIN


BY:                                           BY:
       NINA A. MENNITI                               LEE C. DURIVAGE
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       Attorney for Plaintiffs                       Attorney for Defendant


                                                     APPROVED BY:


                                                                                             J.
